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            SUPREME COURT OF THE STATE OF NEW YORK
            COUNTY OF NEW YORK
             ----------------------------------------------------------------------- X
                                                                                     :
             ROBERT HUNTER BIDEN,                                                    :    Index No.:
                                                                                     :
                                                 Plaintiff,                          :
                                                                                     :    SUMMONS
                      -against-                                                      :
                                                                                     :
             FOX NEWS NETWORK, LLC; FOX CORPORATION;                                 :    Plaintiff designates New York
             and JOHN and JANE DOES 1-100,                                           :    County as the place of trial.
                                                                                      :
                                                 Defendants.                          :   The basis of venue is Defendants’
                                                                                      :   residence and location of events
                                                                                      :   pursuant to CPLR § 503.
             ----------------------------------------------------------------------- X

            To the Above-Named Defendants:

                    You are hereby summoned to answer the Complaint in this action and to serve a copy of
            your answer, or, if the Complaint is not served with this Summons, to serve a notice of appearance
            on the Plaintiff’s attorneys at the address below within 20 days after the service of this Summons,
            exclusive of the day of service, or within 30 days after the service is complete if this Summons is
            not personally delivered to you within the State of New York; and in case of your failure to appear
            or answer, judgment will be taken against you by default for the relief demanded in the Complaint.


            Dated: New York, New York                                    GERAGOS & GERAGOS, APC
                   June 30, 2024
                                                                         By:      /s/ Tina Glandian

                                                                         Tina Glandian, Esq.
                                                                         256 5th Avenue
                                                                         New York, New York 10001
                                                                         (213) 625-3900
                                                                         tina@geragos.com

                                                                         Attorneys for Plaintiff Robert Hunter Biden

            TO:     FOX NEWS NETWORK, LLC
                    1211 Avenue of the Americas
                    New York, NY 10036

                    FOX CORPORATION
                    2121 Avenue of the Stars, Suite 900
                    Los Angeles, CA 90067


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            SUPREME COURT OF THE STATE OF NEW YORK
            COUNTY OF NEW YORK
             ----------------------------------------------------------------------- X
                                                                                     :
             ROBERT HUNTER BIDEN,                                                    : Index No.:
                                                                                     :
                                                 Plaintiff,                          :
                                                                                     : VERIFIED COMPLAINT
                      -against-                                                      :
                                                                                     : Jury Trial Demanded
             FOX NEWS NETWORK, LLC; FOX CORPORATION;                                 :
             and JOHN and JANE DOES 1-100,                                           :
                                                                                      :
                                                 Defendants.                          :
                                                                                      :
                                                                                     X
             -----------------------------------------------------------------------

                    Plaintiff ROBERT HUNTER BIDEN (“Plaintiff” or “Mr. Biden”), by his attorneys

            Geragos & Geragos, APC, as and for his Complaint, hereby alleges:

                                               STATEMENT OF FACTS

                    1.     Beginning in 2020, as part of their politically motivated attacks against the

            President and his family, Defendants FOX NEWS NETWORK, LLC, FOX CORPORATION, and

            JOHN and JANE DOES 1-100 (hereafter collectively “Defendants” or “Fox”) targeted Mr. Biden

            in an effort to harass, annoy, alarm, and humiliate him, and tarnish his reputation.

                    2.     To this end, and without Mr. Biden’s consent,1 Fox produced an entirely fictional

            six-part “mock trial” entitled “The Trial of Hunter Biden”, which first became available for

            streaming on Fox Nation on October 21, 2022. The miniseries was described by Fox as “a riveting

            look at the unresolved legal situation of President Joe Biden’s son, Hunter.” As Fox explained,

            the mock trial captures “how a possible Hunter Biden trial might look.” (Emphasis added).


            1
              As acknowledged in the miniseries, “Mr. Hunter Biden has not authorized this exercise, he is not
            participating in this trial in any fashion, and has had no involvement in the preparations.”


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                           A Mock Trial     For The American People


                            TRIA
                         HUNTERB


                    3.      Far from reporting on a newsworthy event, Fox sought to commercialize Mr.

            Biden’s personality through a form of treatment distinct from the dissemination of news or

            information. Indeed, the entire miniseries is fictionalized and based on a nonexistent criminal

            case. The two charges which are the subject of the mock trial are (1) whether Mr. Biden violated

            the Foreign Agents Registration Act (“FARA”), and (2) whether he committed bribery—neither

            of which Mr. Biden has been charged with. As Judge Joe Brown, a longtime TV judge and the

            “presiding judge” in the miniseries, states at the outset of the program: “This is a mock trial. It is

            not a real proceeding. To be clear, Hunter Biden has not been implicated in or charged in any

            crimes arising from his activities, alleged activities. Of course, this is not a real trial. It is a mock

            trial.” In other words, the miniseries is fictionalized; it is not a news event. It was made for the

            purpose of trade and advertising, and merely exploits Mr. Biden’s name, image, and likeness for

            Fox’s commercial benefit.

                    4.      Notwithstanding the fictional premise of the series—which was intended solely as

            entertainment and not as news—the so-called “evidence” which is presented during the mock trial

            includes actual emails sent to and from Mr. Biden as well as actual photographs depicting him



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            (including nonconsensual intimate images which are the subject of this action, as discussed below).

            Additionally, the mock trial features individuals acting as themselves as witnesses testifying on

            behalf of the prosecution including John Paul Mac Isaac—the Delaware shop owner who obtained

            a laptop which he claims Mr. Biden dropped off at his repair shop—and Miranda Devine, a New

            York Post columnist and Fox News contributor who authored the book Laptop from Hell: Hunter

            Biden, Big Tech, and the Dirty Secrets the President Tried to Hide.

                    5.     While using certain true information, the series intentionally manipulates the facts,

            distorts the truth, narrates happenings out of context, and invents dialogue intended to entertain.

            Thus, the viewer of the series cannot decipher what is fact and what is fiction, which is highly

            damaging to Mr. Biden.

                    6.     In addition to the unlawful commercial exploitation of Mr. Biden’s image, name,

            and likeness, “The Trial of Hunter Biden” unlawfully publishes numerous intimate images (both

            still and video) of Mr. Biden depicting him in the nude, depicting an unclothed or exposed intimate

            part of him, as well as engaged in sex acts (hereafter the “Intimate Images”).

                    7.     Fox published and disseminated these Intimate Images to its vast audience of

            millions as part of an entertainment program in order to humiliate, harass, annoy, and alarm Mr.

            Biden and to tarnish his reputation. It should be noted that when these same images were posted

            on Twitter (now X) as part of an organized effort by exiled Chinese billionaire Guo Wengui and

            his followers, Twitter promptly had these images removed as violative of its revenge porn policies

            and other terms of service. See, e.g., Ryan Bort, Republicans Are Furious Twitter Took Down Pics

            of    Hunter    Biden’s     Penis,    Rolling    Stone     (Feb.    8,    2023),    available     at

            https://www.rollingstone.com/politics/politics-news/republicans-twitter-took-down-hunter-

            biden-dick-pics-1234675974/.




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                    8.     In publishing and disseminating these Intimate Images, Fox knew that these private

            and confidential images were hacked, stolen, and/or manipulated digital material which were

            intended to remain private and confidential, but which had been unlawfully procured and

            disseminated without Mr. Biden’s consent.

                    9.     The unlawful publication and dissemination of the Intimate Images by Fox was not

            made for a legitimate public purpose, where the miniseries featuring a mock trial is not accurately

            reporting on newsworthy events but rather, is a fictionalized trial of a nonexistent case against Mr.

            Biden, produced for entertainment purposes.

                    10.    “The Trial of Hunter Biden” was widely advertised and it was originally available

            for streaming on Fox Nation, as well as other streaming platforms including DirecTV, Apple TV,

            Roku Channel, and YouTube TV.

                    11.    In addition to Fox Nation’s two million paid subscribers, it is reported that DirecTV

            has around 11.3 million subscribers in the U.S., Apple TV has around 25 million paid subscribers

            and an additional 50 million viewers who access the service via promotions, Roku Channel has

            around 81.6 million active accounts worldwide, and YouTube TV has more than 8 million

            subscribers. On information and belief, the reach of the Intimate Images in “The Trial of Hunter

            Biden” was extensive.

                    12.    On April 23, 2024, attorneys for Mr. Biden sent Fox a demand to, inter alia, remove

            “The Trial of Hunter Biden” from all of its streaming platforms including Fox Nation, to direct

            third-party streaming services to remove “The Trial of Hunter Biden” from their respective

            streaming platforms, and to preserve evidence related to Fox’s unlawful publication and

            dissemination of the Intimate Images.




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                     13.   On or about April 30, 2024, Fox removed “The Trial of Hunter Biden” from Fox

            Nation’s streaming platform. However, promotional reels and clips of the mocu-series have not

            been removed by Fox. For instance, one such reel posted on Fox Nation’s Facebook page on

            October 18, 2022 has 3,400 views and is still accessible as of the date of this filing. See

            https://www.facebook.com/foxnation/videos/the-trial-of-hunter-biden-now-

            streaming/1405624696633819/.

                     14.   On information and belief, “The Trial of Hunter Biden” is still available for

            streaming on certain third-party streaming platforms. Clips of “The Trial of Hunter Biden”

            containing the Intimate Images of Mr. Biden also remain accessible online and in the public

            domain.

                     15.   On information and belief, subscribers who downloaded “The Trial of Hunter

            Biden” prior to its removal from Fox Nation on or about April 30, 2024 may forever possess,

            watch, duplicate, and/or further disseminate the program containing the Intimate Images of Mr.

            Biden.

                     16.   The unauthorized publication and dissemination of the Intimate Images has caused

            Mr. Biden severe emotional distress, humiliation, and mental anguish, as well as irreparable injury

            to his personal and professional reputation.

                     17.   Mr. Biden brings this action under New York Civil Rights Law Section 52-b

            seeking monetary damages and injunctive relief for Defendants’ gross wrongdoing. He also

            asserts claims for the intentional infliction of emotional distress and for unjust enrichment.

                     18.   On information and belief, Fox’s publication and dissemination of the Intimate

            Images was a knowing, intentional, and calculated violation of the law, warranting punitive

            damages.




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                    19.    As one of the leading media conglomerates in the world, Fox has a robust in-house

            legal department which includes separate practice groups for litigation, labor and employment,

            intellectual property content protection, compliance, corporate governance, standards and

            practices, music, distribution, sports, digital and data security, and mergers and acquisitions. Fox

            also has a designated Chief Legal and Policy Officer, who oversees all legal, compliance, and

            regulatory matters for Fox, and it has a General Counsel and Deputy General Counsel, as well as

            outside counsel and special legal advisers.

                    20.    The fact that Fox pays substantial salaries and fees to such counsel for its oversight

            and handling of legal and compliance matters has been widely reported. By way of example,

            according to a Securities & Exchange Commission (SEC) filing dated August 9, 2023, Viet Dinh,

            who was the Chief Legal and Policy Officer of Fox Corporation from 2018 until the end of 2023

            (which covers the period in which “The Trial of Hunter Biden” was produced and first made

            available for streaming), earned $12.1 million in total compensation at the end of 2020, $12.4

            million at the end of 2021, $11.2 million at the end of 2022, and $10.7 million at the end of 2023.

            Upon his departure as the Chief Legal Officer of Fox, Mr. Dinh received a $23 million cash

            settlement and Fox agreed to pay him $5 million for a two-year term as a “special adviser.”

                    21.    On information and belief, the reason Fox maintains a robust legal department and

            pays hefty amounts to such counsel is because it knows that the laws affecting its operations are

            ever-changing. For instance, in its 2022 and 2023 Annual Report to shareholders, Fox explained

            that “[t]he Company is subject to complex laws, regulations, rules, industry standards, and

            contractual obligations related to privacy and personal data protection, which are evolving,

            inconsistent and potentially costly.” Fox represented that it “monitors and considers these laws

            and regulations, particularly with respect to the design and operation of digital content services




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            and legal and regulatory compliance programs” and that “the Company expends significant

            resources to comply with privacy and data protection laws.” Fox even forewarned its shareholders

            that “[v]iolations of [such] laws and regulations could result in significant monetary fines and other

            penalties, private litigation, require us to expend significant resources to defend, remedy and/or

            address, and harm our reputation.”

                    22.    On information and belief, during the production of “The Trial of Hunter Biden,”

            and certainly prior to the date on which the series first became available for streaming on Fox

            Nation on October 21, 2022, Fox knew that the majority of states had in effect laws against the

            nonconsensual disclosure of sexually explicit images and videos (also known as “revenge porn”

            laws). Specifically, on information and belief, Fox knew that its use of the Intimate Images in

            “The Trial of Hunter Biden” would violate New York state’s revenge porn laws including New

            York Civil Rights Law Section 52-b and Penal Law Section 245.15 (making the unlawful

            dissemination or publication of an Intimate Image a class A misdemeanor), which had been in

            effect since September 21, 2019.

                    23.    On information and belief, despite knowing that the publication and dissemination

            of the Intimate Images would violate New York civil and criminal laws, Fox chose to publish and

            disseminate the Intimate Images in blatant violation of the law.

                    24.    This would not be the first time that Fox knowingly engaged in unlawful conduct.

            For instance, in the recent Dominion Voting Systems (“Dominion”) lawsuit against Fox (which

            Fox settled at the start of trial for $787.5 million), internal text messages and emails produced

            during discovery revealed that the fact-checking and research division of the network (the so-called

            “Brain Room”) had clearly concluded that the claims that Dominion’s voting machines had been




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            rigged to steal the 2020 presidential election were false but that Fox chose to air this

            misinformation anyway to retain viewers for financial reasons.

                    25.    On information and belief, in an analogous situation here, Fox disregarded the

            known legal implications of unlawfully publishing and disseminating the Intimate Images in order

            to humiliate, harass, annoy, and alarm Mr. Biden, to tarnish his reputation, and for financial gain.

            In other words, like in the Dominion case, Fox knew its conduct was unlawful but it did it anyway.

                    26.    Defendants’ conduct was so egregious and done so clearly with malice and/or

            reckless indifference to Mr. Biden’s interests, wellbeing, and reputation that in addition to all the

            damages which Mr. Biden is entitled to, Defendants should also be required to pay punitive

            damages to punish them for their intentional conduct and to deter Fox and others similarly situated

            from engaging in such reprehensible conduct in the future.

                                                     THE PARTIES

                    27.    Plaintiff Robert Hunter Biden is an individual residing in Los Angeles, California.

            He is the son of President Joe Biden.         He is a Georgetown- and Yale-educated lawyer,

            businessperson, and artist. He is married and has children.

                    28.    Defendant Fox News Network, LLC (“Fox News”) is formed and organized under

            the laws of Delaware and it has its principal place of business in New York, New York. It is

            reportedly the most-watched cable news network in the U.S.

                    29.    A companion to Fox News, Fox Nation is an American subscription video on

            demand service, which offers, among other things, next-day streaming of Fox News primetime

            programs. According to its website, “FOX Nation is an entertainment streaming service brought

            to you by FOX News.” See https://help.fox.com/s/article/Getting-Started-with-FOX-Nation

            (emphasis added). On information and belief, Fox Nation is currently the only subscription video-




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            on-demand from Fox. As of February 26, 2024, Fox Nation reportedly had over two million paid

            subscribers and is said to bring in about $140 million in annual revenue.

                    30.    Defendant Fox News is wholly owned by Defendant Fox Corporation, an American

            multinational mass media company which is incorporated in Delaware and has its principal place

            of business in New York, New York.

                    31.    At all relevant times herein, Defendants John and Jane Does 1 through 100 were

            executives, officers, employees, agents, and representatives of Fox who perpetrated the

            wrongdoing alleged herein. At this time, Plaintiff is not privy to the names or identities of the

            individual defendants, John and Jane Does 1-100, as such knowledge is within the exclusive

            possession of Fox. Pursuant to CPLR § 1024, the names “John and Jane Does 1-100” are fictitious

            and meant as placeholders for the individuals at Fox who directed and/or participated in the

            production of “The Trial of Hunter Biden,” and specifically, in the unlawful publication and

            dissemination of Mr. Biden’s Intimate Images.

                                            JURISDICTION AND VENUE

                    32.    This Court has jurisdiction over the parties and the subject matter of this action

            pursuant to CPLR §§ 301, 302(a)(1), 302(a)(2), and 302(a)(4).

                    33.    This Court has jurisdiction over this action because the amount of damages Plaintiff

            seeks, exclusive of punitive damages, interest, costs, disbursements, and attorneys’ fees, exceeds

            the jurisdictional limits of all lower courts which would otherwise have jurisdiction and meets the

            monetary thresholds of the Commercial Division of the Supreme Court.

                    34.    Venue is proper in New York County pursuant to CPLR § 503 because Defendants

            reside in New York County and a substantial part of the events giving rise to the claims occurred

            in New York County.




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                                               FIRST CAUSE OF ACTION

                                 (Violation of New York Civil Rights Law Section 52-b)

                      35.   Mr. Biden repeats and realleges the allegations stated above as if fully set forth

            herein.

                      36.   Mr. Biden had a reasonable expectation that the Intimate Images, when taken,

            would remain private and confidential.

                      37.   The Intimate Images depict an unclothed or exposed intimate part of Mr. Biden.

                      38.   The Intimate Images depict Mr. Biden engaging in sexual conduct, as defined in

            New York State Penal Law § 130.00(10), with another person.

                      39.   Mr. Biden is readily identifiable by his face in the Intimate Images; moreover, the

            dialogue in “The Trial of Hunter Biden” makes clear that the Intimate Images are of Mr. Biden.

                      40.   The Intimate Images were disseminated and published by Defendants without Mr.

            Biden’s consent.

                      41.   The Intimate Images were disseminated and published by Defendants for the

            improper purpose of harassing, annoying, and alarming Mr. Biden.

                      42.   The publication and dissemination of the Intimate Images in “The Trial of Hunter

            Biden” was not made in relation to a matter of legitimate public concern nor is it otherwise

            protected by the First Amendment of the United States Constitution. On the contrary, the six-part

            mock trial is a fictionalized trial of a nonexistent case against Mr. Biden which was intended solely

            as entertainment and not as news.

                      43.   Mr. Biden is entitled to compensatory damages in an amount to be determined upon

            the trial of this action, his attorneys’ fees and court costs, and injunctive relief.




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                    44.    Because Defendants’ actions were willful, malicious, and deliberate, evinced a high

            degree of moral turpitude, and demonstrated a conscious disregard for Plaintiff’s interests,

            wellbeing, and reputation, Mr. Biden is also entitled to an award of punitive damages to punish

            Defendants for their intentional conduct and to deter Fox and others similarly situated from

            engaging in such reprehensible conduct in the future.

                                             SECOND CAUSE OF ACTION

                                      (Intentional Infliction of Emotional Distress)

                    45.    Plaintiff repeats and realleges the allegations stated above as if fully set forth herein.

                    46.    Defendants engaged in the intentional, extreme, and outrageous conduct of

            publishing and disseminating Plaintiff's Intimate Images.

                    47.    Defendants’ conduct was so extreme in degree and so outrageous in character that

            it goes beyond all possible bounds of decency.

                    48.    Defendants’ purpose in sharing the Intimate Images was to harass, annoy, alarm,

            and humiliate him, tarnish his reputation, and cause others to view him in a negative light.

                    49.    In publishing and disseminating the Intimate Images, Defendants intended to cause

            Mr. Biden severe emotional distress, or alternatively, recklessly disregarded the likelihood that

            such conduct would tend to cause severe emotional distress. Such outrageous behavior is beyond

            the limits of decency and is intolerable in a civilized society.

                    50.    As a direct and proximate result of Defendants’ conduct, Plaintiff suffered severe

            emotional distress.

                    51.    Plaintiff demands judgment against Defendants in an amount to be determined upon

            the trial of this action, said amount being sufficient to compensate Plaintiff for his severe injuries.




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                    52.    Because Defendants’ actions were willful, malicious, and deliberate, evinced a high

            degree of moral turpitude, and demonstrated a conscious disregard for Plaintiff’s interests,

            wellbeing, and reputation, Mr. Biden is also entitled to an award of punitive damages to punish

            Defendants for their intentional conduct and to deter Fox and others similarly situated from

            engaging in such reprehensible conduct in the future.

                                              THIRD CAUSE OF ACTION

                                                   (Unjust Enrichment)

                    53.    Plaintiff repeats and realleges the allegations stated above as if fully set forth herein.

                    54.    In unlawfully publishing and disseminating the Intimate Images of Mr. Biden in

            violation of New York law, Defendants financially benefited from “The Trial of Hunter Biden” at

            Mr. Biden’s expense.

                    55.    It would be against equity and good conscience to allow Defendants to retain the

            profits from “The Trial of Hunter Biden,” which should be disgorged and paid to Mr. Biden as

            restitution.

                                             DEMAND FOR JURY TRIAL

                    56.    Mr. Biden herein demands a trial by jury for all issues in this action.


                                                 PRAYER FOR RELIEF

                    WHEREFORE, Mr. Biden respectfully prays for a judgment against Defendants Fox

            News Network, LLC, Fox Corporation, and John and Jane Does 1-100 as follows:

            a. An award of compensatory damages in an amount exceeding the jurisdictional limits of all
            lower courts and of the Commercial Division of the Supreme Court to be determined by the trier
            of fact;

            b. An award of punitive damages in an amount exceeding the jurisdictional limits of all lower
            courts to be determined by the trier of fact;




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            c. An order directing Defendants to take down, remove and delete any publication of an Intimate
            Image of Mr. Biden and to permanently destroy any Intimate Image of Mr. Biden in their
            possession, custody, or control;

            d. A permanent injunction enjoining Defendants from publishing, disseminating, disclosing,
            posting, or uploading any Intimate Images of Mr. Biden;

            e. The disgorgement of profits from “The Trial of Hunter Biden”;

            f. Reasonable attorneys’ fees, together with costs and disbursements;

            g. Pre-judgment interest as allowed by law; and

            h. Such other and further relief as this Court may deem just and proper.



            Dated: New York, New York                            GERAGOS & GERAGOS, APC
                   June 30, 2024
                                                                 By:     /s/ Tina Glandian

                                                                 Tina Glandian, Esq.
                                                                 256 5th Avenue
                                                                 New York, New York 10001
                                                                 (213) 625-3900
                                                                 tina@geragos.com

                                                                 Attorneys for Plaintiff Robert Hunter Biden




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                                                    VERIFICATION


            STATE OF NEW YORK
                                                  ) ss.:
            COUNTY OF NEW YORK

                    TINA GLANDIAN, an attorney duly admitted to practice before the Courts of the State of

            New York, affirms the following under penalty of perjury:

                    1.      I am the attorney for the Plaintiff in the above-entitled action with offices located

            at 256 5th Avenue, New York, New York, 10001.

                    2.     I have read the foregoing Complaint and know the contents thereof to be true to my

            own knowledge, except as to the matters therein stated to be alleged on information and belief,

            and as to those matters I believe them to be true.

                    3.     This verification is made pursuant to CPLR § 3020(d)(3), as the Plaintiff named

            herein is not located in the County in which I maintain my office.

                    4.     The grounds of my belief as to all matters not stated upon my own knowledge are

            based upon conversations with the Plaintiff and a review of materials relevant to this matter.



            Dated: New York, New York
                   June 30, 2024                                                 /s/ Tina Glandian
                                                                                 TINA GLANDIAN




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